               UNITED STATES DISTRICT COURT
              EASTERN DISTRICT OF WISCONSIN

DANIEL BLACK,

                     Plaintiff,
v.                                                   Case No. 17-CV-156-JPS

DAVID CLARKE, COUNTY OF
MILWAUKEE, WISCONSIN, and                                           ORDER
JOHN DOES ONE-SIX,

                     Defendants.


1.     INTRODUCTION

       This action arises from an encounter on an airplane between former

Milwaukee County Sheriff David Clarke (“Clarke”) and the plaintiff,

Daniel Black (“Black”), which led to airport questioning and a social

media spat. Black accuses Clarke of First, Fourth, and Fourteenth

Amendment violations, and seeks to hold both him and Milwaukee

County liable.

       On September 11, 2017, the defendants filed a motion for summary

judgment. (Docket #15). Black responded on October 11, 2017, (Docket

#25), and the defendants replied on October 25, 2017 (Docket #29). For the

reasons explained below, the defendants’ motion will be granted in part

and denied in part. The surviving claim will proceed to a jury trial.

2.     STANDARD OF REVIEW

       Federal Rule of Civil Procedure 56 states that the “court shall grant

summary judgment if the movant shows that there is no genuine dispute

as to any material fact and the movant is entitled to judgment as a matter

of law.” Fed. R. Civ. P. 56(a); see Boss v. Castro, 816 F.3d 910, 916 (7th Cir.



 Case 2:17-cv-00156-JPS Filed 01/05/18 Page 1 of 27 Document 39
2016). A “genuine” dispute of material fact is created when “the evidence

is such that a reasonable jury could return a verdict for the nonmoving

party.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). The Court

construes all facts and reasonable inferences in a light most favorable to

the non-movant. Bridge v. New Holland Logansport, Inc., 815 F.3d 356, 360

(7th Cir. 2016). In assessing the parties’ proposed facts, the Court must not

weigh the evidence or determine witness credibility; the Seventh Circuit

instructs that “we leave those tasks to factfinders.” Berry v. Chicago Transit

Auth., 618 F.3d 688, 691 (7th Cir. 2010).

3.     FACTUAL BACKGROUND

       3.1    Plaintiff’s Failure to Dispute Defendants’ Proposed Facts

       Many of the relevant facts are undisputed because Black failed to

dispute them. Federal Rule of Civil Procedure 56 and Civil Local Rule 56

describe in detail the form and contents of a proper summary judgment

submission. In connection with their motion for summary judgment, the

defendants filed a supporting statement of material facts that complied

with the applicable procedural rules. (Docket #17). It contained short,

numbered paragraphs concisely stating those facts they proposed to be

beyond dispute, with supporting citations to the attached evidentiary

materials. See id.

       As the party opposing the defendants’ motion, Black was required

to file “a concise response to the moving party’s statement of facts”

containing “a reproduction of each numbered paragraph in the moving

party’s statement of facts followed by a response to each paragraph,

including, in the case of any disagreement, specific references to the

affidavits, declarations, parts of the record, and other supporting materials

relied upon[.]” Civ. L. R. 56(b)(2)(B). Black did no such thing. He filed


                           Page 2 of 27
 Case 2:17-cv-00156-JPS Filed 01/05/18 Page 2 of 27 Document 39
only a memorandum of law opposing summary judgment, his own

proposed facts, and a declaration attaching evidentiary material. (Docket

#25-28). The effect of this failure is that, for the purpose of deciding

summary judgment, the defendants’ uncontroverted statements of

material fact are deemed admitted. Civ. L. R. 56(b)(4); see also Fabriko

Acquisition Corp. v. Prokos, 536 F.3d 605, 607–08 (7th Cir. 2008) (“[A] district

court is entitled to demand strict compliance with [the local] rules for

responding to a motion for summary judgment, and . . . a court does not

abuse its discretion when it opts to disregard facts presented in a manner

inconsistent with the rules.”) (citation omitted).

       The Court will consider Black’s proposed facts, (Docket #28-12),

only to the extent they do not contradict the defendants’ uncontroverted

proposed facts, (Docket #17).1

       3.2    Relevant Facts

       On January 15, 2017, Clarke boarded a plane bound for Milwaukee,

Wisconsin from the Dallas / Forth Worth International Airport. He took

his seat toward the front of the plane. Black boarded the plane after

Clarke, and, during the boarding process, stopped in the aisle

immediately adjacent to Clarke’s seat. Black asked Clarke if he was the

Milwaukee Sheriff, and Clarke responded affirmatively. Then, in what

Clarke believed was a physically threatening manner, Black stared at

Clarke and shook his head. As Black started to walk toward his seat,


       1Black filed amended proposed facts, an amended declaration, and
accompanying exhibits a day after his deadline to respond to the defendants’
summary judgment motion. He moved the Court to excuse the late filing and
accept his submissions, stating that technical problems prevented him from
completing a timely filing. (Docket #28). The defendants did not oppose Black’s
request. The Court will grant Black’s motion and accept his submissions.


                           Page 3 of 27
 Case 2:17-cv-00156-JPS Filed 01/05/18 Page 3 of 27 Document 39
Clarke asked Black if he had a problem, and Black responded by turning,

shaking his head, and waving Clarke off in a manner indicating

displeasure. The men did not have further interaction during the flight.

       Before the plane took off, Clarke used his cell phone to call

Inspector Edward Bailey (“Bailey”), who was then employed by the

Milwaukee County Sheriff’s Office and whose regular duties included

meeting Clarke at the Milwaukee airport when Clarke arrived home from

an out-of-state trip. Clarke informed Bailey of the confrontation with

Black, saying “it had happened again” and that he had had a

“confrontation with a passenger on an aircraft.” (Docket #17 at 4).2 Clarke

described Black to Bailey and told Bailey that the confrontation had not

been physical. Clarke did not think that it amounted to an offense for

which a citation or arrest was appropriate. Clarke nevertheless told Bailey

that he wanted deputies to conduct a “field interview” of Black when the

plane arrived in Milwaukee. According to Clarke’s undisputed version of

the facts, a “field interview” in the Sheriff’s parlance is a “voluntary

police-citizen encounter in which an officer obtains information from a

citizen and makes an identification of the citizen.” (Docket #17 at 4).3




       Clarke states that he had several unprovoked confrontations with
       2

members of the public at airports or on airplanes during his tenure as Milwaukee
County Sheriff. (Docket #18 at 1).
       3Black states in his proposed facts that “[t]he term ‘field interview’ means
a stop based on reasonable suspicion.” (Docket #27 at 5). This is inconsistent with
the defendants’ proposed facts and, as noted earlier, Black’s failure to properly
dispute the defendants’ proposed facts constrains this Court to accept the
defendants’ account. Further, even if Black had properly disputed this fact, it
would not change the Court’s analysis, as Fourth Amendment claims are
governed by an objective standard. See Whren v. United States, 517 U.S. 806, 813
(1996) (“Subjective intentions play no role in ordinary, probable-cause Fourth


                           Page 4 of 27
 Case 2:17-cv-00156-JPS Filed 01/05/18 Page 4 of 27 Document 39
       Bailey immediately called Captain Mark Witek (“Witek”),

commander of the Airport Division of the Milwaukee County Sherriff’s

Office, to relay the information he had just received from Clarke.

Separately, Clarke sent a text message to Witek instructing him to have

deputies conduct a field interview of Black after the plane landed. Before

the plane arrived in Milwaukee, Witek told Deputies Steven Paull

(“Paull”) and Jeffrey Hartung (“Hartung”) that there was an individual on

Clarke’s flight that had possibly harassed him, and that the deputies were

to conduct a field interview of that individual to identify him and obtain

basic information.

       After the plane landed, Clarke exited the plane, entered the

concourse at Gate D54, and walked up to several waiting Milwaukee

County Sheriff’s Office personnel. Witek, Sergeant James Sajdowitz

(“Sajdowitz”), Deputy Karen Mills (“Mills”), and Mills’ canine were there

to greet Clarke as part of standard procedure for the sheriff’s airport

arrival. Paull and Hartung were there solely for the field interview. Clarke

stayed in the gate area with the other Sheriff’s Office personnel until Black

exited the plane and entered the concourse. Clarke identified Black to

Witek, Paull, and Hartung and then left the gate area with Witek,

Sajdowitz, and Mills.

       Paull and Hartung approached Black and said they needed to

speak with him about an incident with Clarke on the plane. A brief

segment of security footage from the gate area shows that the deputies did

not use physical force when confronting Black. (Docket #22-10). They

walked with him to an open area at the center of Concourse D, near an

Amendment analysis.”); Tebbens v. Mushol, 692 F.3d 807, 816 (7th Cir. 2012)
(subjective intent of officers is irrelevant to inquiry into the nature of detention).


                           Page 5 of 27
 Case 2:17-cv-00156-JPS Filed 01/05/18 Page 5 of 27 Document 39
unoccupied commercial space, that was not as confined and crowded as

the gate area.4 As they walked, Paull was several feet to Black’s left and

Hartung was behind Paull. When they arrived in the open area of the

concourse, the deputies told Black to set down his bag and provide proof

of his identity, which he did. Hartung called dispatch to run a check of

Black’s name and information from his Illinois driver’s license for any

outstanding warrants.

       While they waited on dispatch, Paull asked Black to describe what

happened with Clarke on the plane. Black relayed his account, and Paull,

skeptical that Black’s account was complete, asked Black if he had done

anything else toward Clarke. Black called the situation ridiculous and

Paull agreed. Paull asked Black what he thought of Clarke and Black

responded, “[n]o comment.” (Docket #17 at 8). Paull and Black then

discussed other topics, apparently in a friendly manner. The three men

learned that they all had attended the University of Wisconsin—

Milwaukee for college, and both Black and Hartung had played rugby

there. When the field interview concluded (presumably the warrant check

came back negative), the deputies escorted Black through the airport and

outside to a waiting car driven by Black’s friend. The field interview lasted

approximately fifteen minutes.5


       4Black describes the area differently, stating in his proposed facts that it
was “not open to the public.” (Docket #30 at 4). The defendants’ undisputed
version of this fact will be accepted. In any event, Black’s deposition testimony
makes clear that the area to which he was taken for questioning was closed to the
public only in the sense that it was beyond the security checkpoint through
which travelers pass to access the airports’ gates. See (Docket #22-1 at 7).
       5The parties bicker about whether the deputies’ questioning lasted 15
minutes (in the defendants’ view) or 25 minutes (in Black’s view). The plane
carrying Clarke and Black landed at 2:32 p.m., see (Docket #22-3) and the


                           Page 6 of 27
 Case 2:17-cv-00156-JPS Filed 01/05/18 Page 6 of 27 Document 39
       At no point in the interview did the deputies tell Black he was not

free to leave, nor did Black ask if he was free to leave.6 Black used his cell

phone during the encounter to communicate with the friend who was

picking him up at the airport. Black also filmed video as the deputies

escorted him out of the airport, and the deputies did not stop him from

doing so. At his deposition, Black described the deputies who questioned

him as “kind.” (Docket #22-1 at 2). Black acknowledged that he did not

refuse to answer the deputies’ questions and said he was “trying to be

helpful.” (Docket #22-1 at 8). He also testified that he felt as though he

could not leave without answering the deputies’ questions. Id.

        Shortly after leaving the airport, Black posted about his interaction

with Clarke and the deputies on a public Facebook group page. (Docket

#22-1 at 13). His post read:

       Just got off a flight from Dallas. Our wonderful Sheriff
       Clarke was on the flight. I couldn’t tell if it was him because
       he was all decked out in all Cowboys gear, so I asked. When
       he responded yes, I shook my head at him and moved on.
       From behind me he asked if I had a problem and I shook my
       head no again. When we landed at Mitchell International, I
       had a welcoming party of about six cops and drug/bomb
       dogs, who questioned me for about 15 minutes before




deputies escorted Black out of the airport nineteen minutes later, at 2:51 p.m., see
(Docket #22-1 at 10). The defendants’ estimate is not properly disputed and also
more accurate; it will be accepted.
       6Black offers contradictory testimony, stating that he did ask to leave and
was told to wait. (Docket #28-12 at 4). But his failure to dispute the defendants’
facts leaves those facts undisputed. Further, the Court’s acceptance of the
defendants’ version is bolstered by Hartung’s deposition testimony. He indicated
that when the deputies perceived Black was anxious to meet his awaiting ride,
they did not make him wait any longer, and escorted him out of the airport. See
(Docket #22-9 at 6).


                           Page 7 of 27
 Case 2:17-cv-00156-JPS Filed 01/05/18 Page 7 of 27 Document 39
       escorting me out. Just posting to let y’all know be careful
       around our Sheriff, he needs to be in a safe space at all times.

       (Docket #22-1 at 13).

       A couple days after the airport incident, Black filed a formal

complaint about Clarke with Milwaukee County. (Docket #22-1 at 12). A

day or two after that, on January 18, 2017, the Milwaukee County

Sherriff’s Office Facebook account posted a link to Black’s complaint and a

comment attributed to Clarke: “Next time [Black] or anyone else pulls this

stunt on a plane they may get knocked out. The Sheriff . . . does not have

to wait for some goof to assault him. He reserves the reasonable right to

pre-empt a possible assault.” See (Docket #22-1 at 15).7 The next day,

Clarke posted on the same Facebook account a meme, reproduced below,

that included a picture of Black and the text “Cheer up, snowflake . . . if

Sheriff Clarke were to really harass you, you wouldn’t be around to whine

about it.” (Docket #22-1 at 15 and #30 at 10).8




       7 Black did not include copies of the relevant Facebook posts as evidence
in opposition to the defendants’ summary judgment motion. The Court therefore
relies on reproductions in the complaint, Black’s deposition testimony describing
the posts, and the posts themselves, which still appear on Facebook. See
Milwaukee      County      Sheriff’s  Office,    Facebook     (Jan.  18,   2017),
https://www.facebook.com/MilwaukeeCountySheriff/posts/10154659733950189;
Milwaukee      County      Sheriff’s  Office,    Facebook     (Jan.  19,   2017),
https://www.facebook.com/MilwaukeeCountySheriff/posts/10154663044105189:0.
       8 Although the January 19, 2017 post is not directly attributable to Clarke
on its face, the defendants do not contest that it was Clarke who made it. (Docket
#30 at 9-10).


                           Page 8 of 27
 Case 2:17-cv-00156-JPS Filed 01/05/18 Page 8 of 27 Document 39
       Black testified that he interpreted Clarke’s posts as threats, and that

they caused him mental and emotional harm. (Docket #22-1 at 17). Black

also testified that because of Clarke’s posts, he has become the target of

threatening and anti-Semitic comments online. Id.

4.     ANALYSIS

       Black brings claims against Clarke under the First, Fourth, and

Fourteenth Amendments.9 Black also brings a Monell claim against


       9 The defendants ask the Court to disregard Black’s First and Fourteenth
Amendment claims because Black first asserted them in response to their motion
for summary judgment, and that, they argue, is too late in the day. The
defendants are right that a plaintiff “may not amend his complaint through
arguments in his brief in opposition to a motion for summary judgment.”
Anderson v. Donahoe, 699 F.3d 989, 997 (7th Cir. 2012). On the other hand, a
plaintiff has latitude to refine and develop his legal theories based on the record
that emerges in discovery. See CMFG Life Ins. Co. v. RBS Sec., Inc., 799 F.3d 729,
743 (7th Cir. 2015). This latitude is in keeping with Rule 8(a)’s notice pleading
regime, under which “[a] complaint need not identify legal theories.” Id. at 744;
see also Currie v. Chhabra, 728 F.3d 626, 629 (7th Cir. 2013) (“It therefore does not
matter whether the complaint mentioned the Fourth Amendment, the Fourteenth


                           Page 9 of 27
 Case 2:17-cv-00156-JPS Filed 01/05/18 Page 9 of 27 Document 39
Milwaukee County based on Clarke’s alleged constitutional violations.

The defendants respond by contesting each of the alleged constitutional

violations and arguing that, even if the Court finds a violation, Clarke is

entitled to qualified immunity.

       The Court’s analysis begins with Black’s Fourth Amendment claim,

as the facts underlying that claim begin the story of this case. The Court

then turns to Black’s First and Fourteenth Amendment claims, and finally

to Black’s Monell claim against Milwaukee County. Clarke’s entreaty for

qualified immunity as to Black’s constitutional claims is addressed only

where the Court finds a potential constitutional violation.

       4.1    Fourth Amendment

       Black contends that Clarke violated his Fourth Amendment right to

be free from unreasonable seizures, see United States v. Swift, 220 F.3d 502,

506 (7th Cir. 2000), when Clarke directed deputies to confront him in the

airport and conduct an interview. To state a cause of action under the

Fourth Amendment, the defendant’s conduct must constitute a seizure

and that seizure must have been unreasonable in light of the

circumstances. Brokaw v. Mercer Cnty., 235 F.3d 1000, 1010 (7th Cir. 2000).

Defendants argue that: 1) Black was not seized within the meaning of the

Amendment, or neither, so long as it provided adequate notice of the plaintiff’s
claim to the defendants.”). A plaintiff opposing summary judgment may not
inject “new and drastic factual allegations,” but instead must adhere to the
complaint's “fundamental factual allegation[s].” Whitaker v. Milwaukee Cnty., 772
F.3d 802, 808 (7th Cir. 2014). Although Black’s complaint does not include
reference to the First or Fourteenth Amendments, it does include the factual
allegations on which those claims are based, namely Clarke’s social media
response to Black’s protected speech acts. See (Docket #1 at 6-7, 10-11). The
defendants were on sufficient notice to defend against Black’s First and
Fourteenth Amendment claims as presented in his summary judgment
submission.



                          Page 10 of 27
Case 2:17-cv-00156-JPS Filed 01/05/18 Page 10 of 27 Document 39
Fourth Amendment; 2) even if he was, Clarke did not direct the seizure;

and 3) the seizure was reasonable in any event. Determining whether

Black was seized at all is sufficient to dispose of the claim.

       Stated in general terms, a seizure occurs when a person’s “freedom

of movement” is restrained either by “physical force” or a “show of

authority.” United States v. Mendenhall, 446 U.S. 544, 553 (1980). Not all

encounters between law enforcement and citizens constitute seizures.

Police-citizen encounters generally fall into one of three categories, only

the first two of which constitute seizures: (1) an arrest, requiring probable

cause; (2) an investigatory stop, limited to “a brief, non-intrusive

detention” based on specific and articulable facts supporting reasonable

suspicion of criminal activity; and (3) voluntary encounters involving no

restraint on the citizen’s liberty. United States v. Scheets, 188 F.3d 829, 836

(7th Cir. 1999). A seizure occurs “only if, in view of all of the

circumstances surrounding the incident, a reasonable person would have

believed that he was not free to leave.” Mendenhall, 446 U.S. at 554.

       Because this question is context-dependent, courts have developed

various factors to determine whether a seizure has occurred. For example,

circumstances indicative of a seizure include

       the threatening presence of several officers, display of their
       weapons, physical touching of the private citizen, use of
       forceful language or tone of voice (indicating that
       compliance with the officers’ request might be compelled),
       and the location in which the encounter takes place. Courts
       also consider whether police made statements to the citizen
       intimating that he or she was a suspect of a crime, whether
       the citizen’s freedom of movement was intruded upon in
       some way, whether the encounter occurred in a public or
       private place, and whether the officers informed the suspect




                          Page 11 of 27
Case 2:17-cv-00156-JPS Filed 01/05/18 Page 11 of 27 Document 39
       that he or she was free to leave. These factors, however, are
       neither exhaustive nor exclusive.

United States v. Smith, 794 F.3d 681, 684 (7th Cir. 2015) (internal quotations

and marks omitted).

       Under the totality of the circumstances, the deputies’ interview of

Black, at Clarke’s request, did not amount to a seizure. First, it is

undisputed that Clarke instructed Bailey and Witek to have deputies

conduct an interview of Black, and that Black had not done anything that

would rise to the level of a citation or arrest. Clarke did not instruct his

deputies to arrest or detain Black.

       Although several officers were present at the gate when Black

deplaned, only two approached him for questioning. There is no

allegation and no evidence in the record that the deputies displayed their

weapons. There is also no allegation or evidence that the deputies were

forceful with Black, confirmed by the short amount of video surveillance

capturing the deputies’ initial contact with Black showing no use of force.

Nor did the deputies use forceful language; in fact, Black testified that the

deputies who interviewed him were “kind.”

       Next, the deputies’ questions were of a fact-gathering, as opposed

to accusatory, nature. The deputies did not intimate to Black that he was a

suspect of a crime. The limited information that Clarke conveyed to Witek,

who presumably conveyed the same to the deputies, was that Black had

had an interaction with Clarke on the plane that Clarke perceived as

threatening. The deputies collected Black’s biographical information, as

well as his side of the story, before agreeing that the whole incident was

“ridiculous” and escorting Black out of the airport to an awaiting car.




                          Page 12 of 27
Case 2:17-cv-00156-JPS Filed 01/05/18 Page 12 of 27 Document 39
Finally, the encounter was relatively brief and occurred in an area of the

airport that was open to the public.

       True enough, the deputies did not tell Black he was free to leave,

but Black also did not ask to leave. Black contends that it was “obvious”

he wanted to leave the airport without staying to answer the deputies’

questions, but that he could not leave because the deputies had instructed

him to set down his bag and the deputies had his driver’s license in hand.

(Docket #28-12 at 3-4). The defendants counter that Black answered the

deputies’ questions voluntarily, and Black admits he sought to be helpful

to the deputies. “[W]hether a person asks permission to leave is but one

factor among many in the arrest analysis,” Fox v. Hayes, 600 F.3d 819, 833

(7th Cir. 2010), and in this case, the dispute about permission to leave is

overshadowed by the other circumstances of the encounter, described

above, which demonstrate that Black was not seized. See Scheets, 188 F.3d

at 837 (no seizure occurred when subject agreed to accompany a federal

agent and private security officer to casino security office, and subject was

free to leave through an unlocked door next to his chair).

       Because Black was not seized within the meaning of the Fourth

Amendment, the defendants are entitled to summary judgment on that

claim. Brokaw, 235 F.3d at 1010.

       4.2    First Amendment Retaliation

       Black complains of two First Amendment violations. First, he

alleges that in response to his expressive conduct on the plane (shaking

his head in displeasure), Clarke retaliated against him by sending his

deputies to question him. Second, he alleges that in response to his filing a

complaint with Milwaukee County, Clarke retaliated against him by

making threatening and harassing public posts about him on social media.


                          Page 13 of 27
Case 2:17-cv-00156-JPS Filed 01/05/18 Page 13 of 27 Document 39
       To prevail on a First Amendment retaliation claim, the plaintiff

must show that “(1) he engaged in activity protected by the First

Amendment; (2) he suffered a deprivation that would likely deter First

Amendment activity in the future; and (3) the First Amendment activity

was at least a motivating factor in the defendant’s decision to take the

retaliatory action.” Bridges, 557 F.3d at 546 (citations and internal marks

omitted).

       As to the second factor, retaliatory speech is generally actionable

“only in situations of threat, coercion, or intimidation that punishment,

sanction, or adverse regulatory action will immediately follow.”

Novoselsky v. Brown, 822 F.3d 342, 356 (7th Cir. 2016) (quotation and

internal marks omitted). A common fact pattern for retaliation cases is in

the employment context, where an employer threatens to terminate, or

actually terminates, an employee in retaliation for the employee’s

protected (but unpopular) speech. See, e.g., Valentino v. Vill. of S. Chicago

Heights, 575 F.3d 664, 674 (7th Cir. 2009) (municipal employee stated First

Amendment      claim   against   mayor,   municipal    administrator    who

terminated her, and municipality claiming she was fired in retaliation for

speaking out against their practices of nepotism and ghost payrolling).

       In fewer cases, possibly because the practice happens less

frequently, the Seventh Circuit has found actionable retaliation where the

defendant public official threatens physical harm. In Fairley v. Andrews, for

example, correctional officers harassed two fellow officers to prevent them

from testifying in a civil rights case brought by several inmates. 578 F.3d

518, 520 (7th Cir. 2009). The defendant officers taunted and physically

assaulted the plaintiff officers, and when one of the plaintiff officers was




                          Page 14 of 27
Case 2:17-cv-00156-JPS Filed 01/05/18 Page 14 of 27 Document 39
attacked by an inmate with a shank, a defendant officer remarked: “[y]ou

see that, Fairley? You fuck with people, that’s how you get stabbed.” Id.

       A public official may also face liability for retaliatory speech that is

not threatening, but is humiliating or harassing. “But this is a high bar,

usually limited to the release of highly personal and extremely

humiliating details to the public.” Novoselsky, 822 F.3d at 356 (quotation

omitted). The Seventh Circuit has pointed to Bloch v. Ribar, a Sixth Circuit

case, as an example. Id. (citing Bloch v. Ribar, 156 F.3d 673 (6th Cir. 1998)).

In that case, a sheriff responded to a rape victim’s criticism of his

investigation of her rape by revealing to the media intimate, humiliating,

and undisclosed details about the rape. Bloch, 156 F.3d at 679–80. The

court found that the victim stated a claim against the sheriff for First

Amendment retaliation. Id.

       Finally, a public official can be held liable for First Amendment

retaliation by subjecting the speaker to a “campaign of petty harassment.”

See, e.g., Bart v. Telford, 677 F.2d 622, 624 (7th Cir. 1982). In Bart, the Court

of Appeals found a cognizable First Amendment retaliation claim in the

employment context based on the defendants’ concerted, prolonged

campaign of harassment. Id. This included such things as baseless

reprimands and ridicule for bringing a birthday cake to the office on the

occasion of the birthday of another employee although the practice was

common. Id. Although the harassment allegations carried “a certain air of

the ridiculous,” the court held that they presented a question of fact as to

“whether the campaign reached the threshold of actionability under

section 1983.” Id. at 625.

       Similarly, in Wallace v. Benware, the Court of Appeals affirmed a

jury’s finding that the defendant county sheriff violated the First


                          Page 15 of 27
Case 2:17-cv-00156-JPS Filed 01/05/18 Page 15 of 27 Document 39
Amendment by engaging in a campaign of retaliatory harassment

directed at the plaintiff deputy who had announced that he would run

against the sheriff in an upcoming election. 67 F.3d 655, 662 (7th Cir. 1995).

The harassment included taking away the deputy’s portable radio and

radar unit, ordering the deputy (but no one else) to leave his squad car at

the station on weekends, inhibiting the deputy’s ability to fulfill his

responsibilities in the department’s D.A.R.E. program, giving the deputy a

series of atypical cleaning assignments, and, in the most serious instance,

putting the deputy in harm’s way during an armed robbery by ordering

him to leave the scene from a concealed position for no sensible reason. Id.

at 656-58; see also Bridges, 557 F.3d at 551-52 (prisoner sufficiently pled

retaliation by alleging that, after he filed an affidavit in the wrongful death

action of a deceased inmate’s mother, he experienced delays in his

incoming and outgoing mail, harassment by a guard kicking his cell door,

turning his cell light off and on, and opening his cell trap and slamming it

shut in order to startle him, unjustified disciplinary charges, and improper

dismissal of his grievances).

       In contrast, an isolated instance of public ridicule will not amount

to actionable retaliatory harassment unless it is egregious enough to deter

a person of ordinary firmness from exercising his right of free speech. For

example, the same defendant in this case skirted a claim of retaliatory

harassment in Hutchins v. Clarke, where the Seventh Circuit found that

Clarke’s statements on a radio show about a deputy who had criticized

Clarke did not amount to First Amendment retaliation. 661 F.3d 947, 956–

57 (7th Cir. 2011). In that case, Clarke called into a radio show to respond

to the deputy’s on-air criticism by calling the deputy “a ‘slacker’ who did

not deserve to be an employee of the sheriff’s department,” and


                          Page 16 of 27
Case 2:17-cv-00156-JPS Filed 01/05/18 Page 16 of 27 Document 39
“express[ing] the view that [the deputy] was bitter and carried a grudge

against him because of a disciplinary action” that Clarke had taken against

the deputy. Id. at 950. Clarke identified the disciplinary action on-air “as a

step taken as a result of [the deputy’s] ‘sexual harassment’ of another

employee. In actuality, the disciplinary action was for [the deputy’s]

violation of a department rule that prohibited offensive conduct or

language toward the public or toward county officers or employees.” Id.

       The Court of Appeals found that Clarke’s statements did not

threaten punishment, and that “[e]ven if some ‘harassment and ridicule’

might be retaliatory speech under § 1983, Sheriff Clark[e]’s statements did

not rise to that level.” Id. at 956-57 (quotation omitted). After all, the Court

must take into account the defendant speaker’s own right to free speech.

Id. at 956; see also Novoselsky, 822 F.3d at 356 (“Unconstitutional retaliation

by a public official requires more than criticism or even condemnation.”).

       Having surveyed the landscape of applicable First Amendment

jurisprudence, the Court turns now to the two incidents of alleged

retaliation in this case.

               4.2.1   The airport encounter

       Black first alleges that Clarke retaliated against him by directing his

deputies to stop and interview him at the airport in response to Black

having stared and shaken his head in displeasure at Clarke on the plane.

The defendants do not contest that Black’s expressive gesture on the plane

was protected speech or that Clarke’s directive for the interview was

motivated by that speech. See (Docket #29 at 12). The only question, then,

is whether the retaliatory action would “deter a person of ordinary

firmness” from exercising his First Amendment rights in the future.

Bridges, 557 F.3d at 552.


                           Page 17 of 27
 Case 2:17-cv-00156-JPS Filed 01/05/18 Page 17 of 27 Document 39
       As discussed above, Black voluntarily submitted to an interview

with deputies at the airport. He was not “deprived” of anything, or made

to do something he did not agree to do. Black cites no authority for the

proposition that being asked to submit to voluntary questioning by police,

in response to a protected speech act, would deter a person from

exercising his speech rights in the future.

       The analysis might be different if Black had been issued a citation

and/or fined for his on-board glare. See, e.g., Citizens United v. Fed. Election

Comm'n, 558 U.S. 310, 348 (2010) (“If the First Amendment has any force, it

prohibits Congress from fining or jailing citizens, or associations of

citizens, for simply engaging in political speech.”). Different, too, if Black

had been arrested. See, e.g., Thayer v. Chiczewski, 705 F.3d 237, 252-53 (7th

Cir. 2012) (recognizing that an arrest is a deprivation for purposes of a

First Amendment retaliatory claim, but noting that the case law is

unsettled as to whether the existence of probable cause would be a

complete bar to such a claim). On the facts presented, however, Black has

not shown that being stopped for fifteen minutes in order to voluntarily

respond to deputies’ questions would likely deter First Amendment

activity in the future. The defendants’ motion for summary judgment

must be granted on this claim.

              4.2.2   The Facebook posts

       Black next alleges that Clarke retaliated against him by making

mocking and, in his view, threatening, posts on Facebook in response to

the airplane snub and the formal complaint Black submitted to Milwaukee

County. Recall that Clarke’s first post said that “[n]ext time [Black] or

anyone else pulls this stunt on a plane they may get knocked out,” see

(Docket #22-1 at 15), and his second said that “if Sheriff Clarke were to


                          Page 18 of 27
Case 2:17-cv-00156-JPS Filed 01/05/18 Page 18 of 27 Document 39
really harass you, you wouldn’t be around to whine about it,” (Docket

#22-1 at 15 and #30 at 10). Black claims to understand these post as threats

meant to deter him or others from criticizing Clarke.

       Again here, the defendants do not contest that Black engaged in

protected speech or that Clarke’s posts were motivated thereby. See

(Docket #29 at 12). The only question, then, is whether Clarke’s Facebook

posts would deter a person of ordinary firmness from exercising his First

Amendment rights.

       The defendants are right that Clarke’s posts do not amount to a

“campaign” of harassment like what was described in Bart and Wallace,

where the defendants repeatedly tormented the plaintiffs with petty

reprimands and ridicule. And Clarke’s posts are not profoundly

humiliating to Black in the way that the sheriff’s public statements were to

the plaintiff rape victim in Bloch.

       But Clarke’s posts could reasonably be understood as a “threat,

coercion, or intimidation that punishment . . . will immediately follow.”

Novoselsky, 822 F.3d at 356. They say as much on their face, and in

aggressive and combative language. Cf. Fairley, 578 F.3d at 520

(defendant’s comment implying plaintiff officers deserved to be stabbed

was sufficiently threatening to state a claim). Of course, another

interpretation is that the posts are intentionally hyperbolic (and juvenile)

attempts at mockery and self-promotion, and that an ordinary person

would not be intimidated by them.

       In this Circuit, “retaliation need not be monstrous to be actionable

under the First Amendment[.]” DeGuiseppe v. Vill. of Bellwood, 68 F.3d 187,

192 (7th Cir. 1995). Whether retaliatory conduct is sufficiently severe as to

be actionable is a question of fact, Wallace, 67 F.3d at 664, n.9, unless it is so


                          Page 19 of 27
Case 2:17-cv-00156-JPS Filed 01/05/18 Page 19 of 27 Document 39
trivial that it would not deter a person of ordinary firmness from the

exercise of the right. Bart, 677 F.2d at 625. On the record before the Court,

taking all facts in a light most favorable to Black, the Court cannot say

Clarke’s posts were so trivial that no jury could find them to be

sufficiently threatening to deter future speech. The defendants’ motion for

summary judgement as to this claim must be denied.

              4.2.3   Qualified Immunity

       At this juncture, having determined that triable issues of fact

preclude summary judgment on Black’s First Amendment claim, the

Court would ordinarily turn to the issue of qualified immunity. The

doctrine of qualified immunity protects government officials “from

liability for civil damages insofar as their conduct does not violate clearly

established statutory or constitutional rights of which a reasonable person

would have known.” Pearson v. Callahan, 555 U.S. 223, 231 (2009) (citing

Harlow v. Fitzgerald, 457 U.S. 800, 818 (1982)).

       However, Clarke has not argued for qualified immunity as to

Black’s First Amendment claim based on the Facebook posts; he argues for

qualified immunity only as to Black’s Fourth Amendment claim. (Docket

#16 at 10-13 and #29 at 13-15). For example, in his opening brief, Clarke

argues that “[i]ndeed, there is and was on January 15, 2017, no clearly

established right on the part of an individual to avoid non-coercive

questioning and identification by law enforcement after interacting with a

public official who has a high-risk security profile.” (Docket #16 at 12). He

repeats, nearly verbatim, the same argument in his reply brief. (Docket #29

at 13). Nowhere in his entreaty for qualified immunity does Clarke even

mention the Facebook posts, let alone argue that he is entitled to

protection for liability for a First Amendment claim based on those posts.


                          Page 20 of 27
Case 2:17-cv-00156-JPS Filed 01/05/18 Page 20 of 27 Document 39
       It is not the Court’s job to present arguments on a party’s behalf.

Luddington v. Ind. Bell Tel. Co., 966 F.2d 225, 230 (7th Cir. 1992) (“If we

assume lawyers’ responsibilities, we unbalance the market for legal

services and take time away from our consideration and decision of other

cases.”). The Court will not consider whether Clarke would be entitled to

qualified immunity for Black’s surviving First Amendment claim.

       4.3    Fourteenth Amendment

       Black’s final claim against Clarke arises under the Due Process

Clause of the Fourteenth Amendment. Due process generally confers “no

affirmative right to governmental aid, even where such aid may be

necessary to secure life, liberty, or property interests.” DeShaney v.

Winnebago Cnty. Dep't of Soc. Servs., 489 U.S. 189, 196 (1989). “Under the

state-created danger doctrine, however, a substantive due process claim

can proceed where the state ‘affirmatively places a particular individual in

a position of danger the individual would not otherwise have faced.’”

Wilson-Trattner v. Campbell, 863 F.3d 589, 593 (7th Cir. 2017) (quoting Doe

v. Vill. of Arlington Heights, 782 F.3d 911, 916 (7th Cir. 2015)).

       To prevail on a due process claim under the state-created danger

theory, Black must show that “(1) the state by its affirmative acts created

or increased a danger to [him], (2) the state’s failure to protect [him] from

danger was the proximate cause of [his] injury and (3) the state’s failure to

protect [him] shocks the conscience.” Id. (citation omitted).

       “The ‘shocks the conscience’ prong is an attempt to quantify the

rare ‘most egregious official conduct’ required for substantive due process

liability.” Flint v. City of Belvidere, 791 F.3d 764, 770 (7th Cir. 2015) (quoting

Jackson v. Indian Prairie Sch. Dist. 204, 653 F.3d 647, 654–55 (7th Cir. 2011)).




                          Page 21 of 27
Case 2:17-cv-00156-JPS Filed 01/05/18 Page 21 of 27 Document 39
A public official “must act with a mens rea akin to criminal recklessness for

constitutional liability to attach[.]” Flint, 791 F.3d at 770.

       Conscience-shocking conduct includes, for example, officers

arresting a sober driver and leaving behind an obviously drunk passenger

with the keys to the vehicle who later caused a collision, injuring the

plaintiffs. Reed v. Gardner, 986 F.2d 1122, 1127 (7th Cir. 1993). So, too, when

officers arrested a woman in a safe place and released her in a hazardous

one while she was unable to protect herself. Paine v. Cason, 678 F.3d 500,

511 (7th Cir. 2012). In each of these cases, the plaintiff was safe (or safer)

until the police stepped in.

       Black claims that Clarke placed him in a position of danger by

“actively encourag[ing] harassment that Black experienced online”

because “without Sheriff Clarke’s post there are no threatening messages

to Black.” (Docket #25 at 16). This is the only sentence in Black’s brief

explaining why he believes Clarke’s conduct is actionable under this

theory. Id. The Court would be well within bounds to treat this claim as

underdeveloped, and thus waived. See Puffer v. Allstate Ins. Co., 675 F.3d

709, 718 (7th Cir. 2012) (arguments that are “underdeveloped, conclusory,

or unsupported by law” are waived). Nevertheless, because it is also

completely without merit, the claim will be dismissed for that reason.

       First, Black has not persuaded the Court that the “danger” he faces

from online harassment by third-parties is the kind of danger meant to be

addressed by the state-created danger rule. Even if it were, Black has not

even alleged, much less proven with evidence, that Clarke knew or should

have known that Black would face the “danger” of online harassment

from third-parties after he made his Facebook posts. While Clarke’s

actions reflect poor judgment, they do not shock the conscience. To the


                          Page 22 of 27
Case 2:17-cv-00156-JPS Filed 01/05/18 Page 22 of 27 Document 39
extent Black wishes Clarke or other officers would stop online bullies from

harassing him, the Fourteenth Amendment does not require the state to

step in to prevent private violence, much less private name-calling.

DeShaney, 489 U.S. at 196-97 (1989); Vill. of Arlington Heights, 782 F.3d at

918. Black’s Fourteenth Amendment claim must be dismissed.

       4.4    Monell

       Finally, Black seeks to hold Milwaukee County liable for Clarke’s

constitutional violations under Monell v. Dep't of Soc. Servs. of City of New

York, 436 U.S. 658 (1978). The Supreme Court held in Monell that although

local government entities cannot be held vicariously liable for

constitutional violations committed by their employees, they can be held

liable under Section 1983 if “the unconstitutional act complained of is

caused by: (1) an official policy adopted and promulgated by its officers;

(2) a governmental practice or custom that, although not officially

authorized, is widespread and well settled; or (3) an official with final

policy-making authority.” Thomas v. Cook Cnty. Sheriff's Dep't, 604 F.3d

293, 303 (7th Cir. 2009) (citing Monell, 436 U.S. at 690).

       The only surviving constitutional claim for which Milwaukee

County could possibly be liable is Black’s First Amendment retaliation

claim based on Clarke’s Facebook posts. Black has barely argued for

application of Monell to that claim. He primarily argues that Milwaukee

County should be held liable for a Fourth Amendment violation based on

the airport encounter, see (Docket #25 at 17-19), but the Court has already

determined there was no Fourth Amendment violation. See Swanigan v.

City of Chicago, 775 F.3d 953, 962 (7th Cir. 2015) (citing City of Los Angeles v.

Heller, 475 U.S. 796, 799 (1986)) (“If the plaintiff fails to prove a violation of

his constitutional rights in his claim against the individual defendants,


                          Page 23 of 27
Case 2:17-cv-00156-JPS Filed 01/05/18 Page 23 of 27 Document 39
there will be no viable Monell claim based on the same allegations.”); see

also Sallenger v. City of Springfield, Ill., 630 F.3d 499, 504 (7th Cir. 2010) (“[A]

municipality cannot be liable under Monell [for failure to train] where

there is no underlying constitutional violation by a municipal

employee.”).

       Black’s underdeveloped argument for Monell liability as to the First

Amendment claim is that Clarke is a final policymaker for Milwaukee

County and he “encouraged his followers to harass Black.” (Docket #25 at

18). Black’s complaint sheds little additional light on his theory, adding

that “[i]t is the policy and practice of Sheriff Clarke’s office and

Milwaukee County to intimidate and dissuade citizens from complaining

about misconduct by Sheriff Clarke and his deputies” and “to threaten

citizens that complain about misconduct by Sheriff Clarke or his

deputies.” (Docket #1 at 10-11).

       First, Black has not introduced any evidence whatsoever that

Clarke’s social media conduct was undertaken pursuant to a policy or

practice of Milwaukee County or its Sheriff’s Office. The allegations here

relate to isolated actions in one case, not a policy or practice.

       Next, “whether a particular official has ‘final policymaking

authority’ is a question of state law,” City of St. Louis v. Praprotnik, 485 U.S.

112, 123 (1988), and Black has not pointed to Wisconsin law indicating that

Clarke has final policymaking authority in the area of responding to

complaints from citizens (or using the Sheriff’s Office social media

accounts). Black only argues that Clarke is a final policymaker in the area

of law enforcement at the airport. (Docket #25 at 18).

       The Court will not make Black’s case for him. “Summary judgment

is the ‘put up or shut up’ moment in a lawsuit.” Siegel v. Shell Oil Co., 612


                           Page 24 of 27
 Case 2:17-cv-00156-JPS Filed 01/05/18 Page 24 of 27 Document 39
F.3d 932, 937 (7th Cir. 2010) (quotation omitted). Black has not put up any

evidence connecting Milwaukee County to Clarke’s potential First

Amendment violation in this case, and therefore summary judgment must

be granted in the defendants’ favor as to Black’s Monell claim.

       4.5    Doe defendants

       Finally, the Court will dismiss the six John Doe defendants who

Black named in his complaint but who have not been further identified in

this case. The complaint alleges that Does One and Two are the deputies

who questioned Black at the airport, and Does Three through Six are the

other deputies present at the gate when the plane carrying Black and

Clarke arrived in Milwaukee. (Docket #1 at 5). Black learned the identities

of these deputies in discovery and addressed them by name in his brief

opposing summary judgment. See (Docket #25 at 7). He had more than

ample opportunity to amend his pleading to name these deputies as

defendants if he intended to maintain claims against them, and he did not.

They will be dismissed.

5.     CONCLUSION

       Black has raised a triable issue of fact as to his claim for First

Amendment retaliation based on Clarke’s Facebook posts. Unless

otherwise resolved, that claim will proceed to a jury trial as scheduled for

January 22, 2018 (Docket #13). As to the balance of Black’s claims, the

defendants are entitled to judgment as a matter of law.10


        One last item remains for the Court’s attention. Along with their
       10

summary judgment submissions, the defendants filed a motion to seal Exhibit A
to the declaration of Brian Barkow. (Docket #20). The exhibit is matrix of
information summarizing “threats” made against Clarke between July 2016 and
July 2017. It includes identifying information about private citizens, including
names, addresses, and birthdays. The defendants contend that public disclosure


                           Page 25 of 27
 Case 2:17-cv-00156-JPS Filed 01/05/18 Page 25 of 27 Document 39
       Accordingly,

       IT IS ORDERED that Black’s motion for leave to untimely file

materials in opposition to summary judgment (Docket #28) be and the

same is hereby GRANTED;

       IT IS FURTHER ORDERED that the defendants’ motion to seal

Exhibit A to the Declaration of Brian Barkow (Docket #20) be and the same

is hereby GRANTED;

       IT IS FURTHER ORDERED that the defendants’ motion for

summary judgment (Docket #15) be and the same is hereby GRANTED in

part and DENIED in part as stated in this Order;

       IT IS FURTHER ORDERED that Black’s claims under the Fourth

and Fourteenth Amendments, his claim under the First Amendment

based on the airport interrogation, and his Monell claim be and the same

are hereby DISMISSED; and



of this matrix could jeopardize ongoing investigations, provide assistance to
individuals hostile to Clarke or Milwaukee County, and bring unwanted
attention to the citizens whose identifying information is included. Id. Black
opposes sealing, arguing there is no expectation of privacy for people who make
statements online and that, in any event, the matrix is irrelevant to the claims at
issue in this case. (Docket #23). The defendants introduced the matrix to support
their arguments opposing Black’s Fourth Amendment claim, which will be
dismissed. See (Docket #24 at 1-2). Because the exhibit is not dispositive to any
issue in this case, and because it includes personal, identifying information about
citizens who are not parties, the Court will grant the defendants’ motion to seal
it. See Goesel v. Boley Int'l (H.K.) Ltd., 738 F.3d 831, 833 (7th Cir. 2013) (“[T]he
presumption of public access ‘applies only to the materials that formed the basis
of the parties’ dispute and the district court’s resolution’; other materials that
may have crept into the record are not subject to the presumption.”) (quotation
omitted); see also Baxter Intern., Inc. v. Abbott Labs., 297 F.3d 544, 547 (7th Cir.
2002) (“Where confidential material is non-dispositive . . . sealing may be
appropriate.”).




                           Page 26 of 27
 Case 2:17-cv-00156-JPS Filed 01/05/18 Page 26 of 27 Document 39
      IT IS FURTHER ORDERED that defendants Milwaukee County

and John Does One through Six be and the same are hereby DISMISSED.

      Dated at Milwaukee, Wisconsin, this 5th day of January, 2018.

                                BY THE COURT:



                                ____________________________
                                J. P. Stadtmueller
                                U.S. District Judge




                          Page 27 of 27
Case 2:17-cv-00156-JPS Filed 01/05/18 Page 27 of 27 Document 39
